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21965-MCM Atty No.: 6209573
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

NICHOLE KHOUCHABA, )
)
Plaintiff, )
)
VS. ) Case No.: 1:23-cv-05860
)
VENUS CONCEPT USA, INC., ) Hon, Steven C, Seeger
) Magistrate Judge Jeffrey Cole
Defendant. )

MOTION TO REOPEN FACT DISCOVERY

NOW COME the Plaintiff, NICHOLE KHOUCHABA, by and through her attorneys,
O’CONNOR & NAKOS, LTD., and moves this Honorable court to Reopen Fact Discovery in
this matter. In support, Plaintiff states as follows:

1, The parties have been working together to complete discovery in this matter.
However, there have been some delays due to the war in Israel which resulted in the untimely
production of documentation in this case.

2. This matter has been transferred to Judge Jeffrey Cole for the purposes of
supervising the discovery, The case is currently set for a status before Judge Cole on February
12, 2025. (See Attached Docket Entry dated 11-7-2024)

3, The Plaintiff filed a Motion to Compel the discovery depositions of Diego Leal
and Joel Maiz in this case. Defendant filed a Response to this Motion. Judge Cole entered a
Memorandum Opinion and Order essentially agreeing to allow those depositions to proceed if
Judge Seeger allows discovery to be reopened. (See Attached Memorandum Opinion and Order
by Judge Cole)

4, The Plaintiff is confident that under the supervision of Judge Cole that this fact
discovery can be completed. Plaintiff respectfully suggests that fact discovery be extended to the

status conference date of February 12, 2025 at which time a Pre-Trial Settlement Conference can
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be scheduled. This timeframe would give the parties plenty of time to complete the two
depositions and any further discovery that may flow from those depositions.
5. This request is made in the interest of the fairness and resolving this case on its
merits. The reopening of fact discovery will not prejudice either one of the parties.
WHEREFORE, Plaintiff NICHOLE KHOUCHABLA, by and through her attorneys,
O’CONNOR & NAKOS, LTD. prays that this Honorable court extend Fact Discovery to

February 12, 2025 or any other relief that this Court feels is justified.

Respectfully submitted,

/s/Mark C, Murnane

/s/ Mark C. Murnane

O’CONNOR & NAKOS, LTD.
120 North LaSalle Street — 35" Floor
Chicago, Illinois 60602

(312) 546-8100
mmurnane@oconnornakos.com
Attorney for Plaintiff

CERTIFICATE OF SERVICE

I hereby certify that a true and complete copy of the foregoing document was filed with
the Clerk of the Court using the Court’s CM/ECF system on the 27" day of November 2024,
which will send electronic notification to the attorneys of records at the email addresses on file
with the Court,
fs/Mark C. Murnane
Mark C, Murnane

